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15                          UNITED STATES DISTRICT COURT
16
                                  DISTRICT OF NEVADA
17
     DEVON PRESCOTT, individually and on CASE NO.: 2:18-cv-00296-GMN-GWF
18   behalf of all those similarly situated;
     BROOKE FREEMAN, individually and on
19
     behalf of all those similarly situated;      PLAINTIFFS’ OPPOSITION TO
20   TASANEEPORN UPRIGHT, individually and DEFENDANT SLIDE FIRE SOLUTIONS,
     on behalf of all those similarly situated,  LP’S MOTION TO DISMISS THE
21                                              COMPLAINT PURSUANT TO RULES
22          Plaintiffs,                               12(b)(2) AND 12(b)(6)

23   vs.
24   SLIDE FIRE SOLUTIONS, LP, a Foreign
25   Corporation; DOE MANUFACTURERS 1 –
     100, inclusive; and ROE RETAILERS 1- 100,
26   inclusive,
27         Defendants.
28
1            COME        NOW       Plaintiffs,    DEVON          PRESCOTT,        BROOKE         FREEMAN          and
2    TASANEEPORN UPRIGHT (“Plaintiffs”), by and through counsel, and herein submit their
3    Opposition to Defendant Slide Fire Solutions, LP’s Motion to Dismiss the Complaint Pursuant
4    to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6) [ECF No. 8].
5            This Opposition is based upon pleadings and papers on file and the attached Points and
6    Authorities, and any oral argument that may be entertained at the hearing of this matter.
7                                                             I.
 8                                           STATEMENT OF FACTS
 9           For over 80 years, the United States has recognized that firearms that can fire
10   automatically—without successive pulls of the trigger—should not be widely distributed,
11   because there is too great a risk they will be used for mass slaughter. The National Firearms
12   Act of 1934, 26 U.S.C. § 5801, et. seq., (“NFA”), has strictly regulated the manufacture and
13   sale of such weapons, so strictly that the law is often called “the machine gun ban.”1
14           Defendant Slide Fire Solutions, LP (“Slide Fire”) manufactures and sells a device to
15   circumvent, and violate, that longstanding law. Slide Fire sells to the general public a “bump
16   stock device,” an after-market accessory that enables anyone to convert a semiautomatic firearm
17   into, effectively, an automatic weapon. A bump stock enables a gun to fire hundreds of rounds
18   of ammunition in seconds—by one report, 90 shots in 10 seconds.2 Such firepower is not
19   needed for hunting or home defense. What it is useful for was evident on October 1, 2017,
20   when bump stocks enabled a killer to fire over 1,100 rounds in about 660 seconds, and turn the
21   Route 91 Harvest Music Festival into a war zone. Fifty-eight people died, over 500 were
22   physically wounded, and thousands—Plaintiffs’ proposed class—were emotionally injured and
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     1
26     Courts have recognized the extreme danger posed by machineguns, justifying a ban on the sale of machineguns
     manufactured after 1986. See, e.g., Hollis v. Lynch, 827 F.3d 436, 448 (5th Cir. 2016) (describing fully automatic
27   weapons as “primarily weapons of war [that] have no appropriate sporting use or use for personal protection” in
     decision upholding constitutionality of machinegun ban) (citations and quotations marks omitted).
     2
28     Larry Buchanan, Jon Huang & Adam Pearce, Nine Rounds a Second: How the Las Vegas Gunman Outfitted a
     Rifle to Fire Faster, NY TIMES (Oct. 5, 2017), https://www.nytimes.com/interactive/2017/10/02/us/vegas-
     guns.html (by comparison, a fully automatic weapon allows shooter to fire about 98 shots in seven seconds).

                                                             2
1    traumatized. This deadliest mass shooting in U.S. history was made possible by Defendant’s
2    bump stocks.3
3            Plaintiffs allege that it was negligent and unreasonably dangerous for Slide Fire to
4    market and sell to the public this device that enables anyone to fire weapons of war. Even
5    worse, Slide Fire misled the Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”) to
6    obtain approval to sell the device, saying it was intended for people with limited mobility in
7    their hands. Slide Fire’s marketing materials suggest that this was a falsehood designed to
 8   prevent ATF from prohibiting the sale of bump stocks; Slide Fire does not market to the
 9   disabled, but to civilians—like the Las Vegas killer—who want automatic firepower.
10           In moving to dismiss, Slide Fire argues that (1) Nevada courts may not exercise personal
11   jurisdiction over it; (2) Congress has immunized it from civil liability, barring courts from
12   hearing common law claims brought by people foreseeably injured by its wrongful conduct; and
13   (3) Nevada law does not support Plaintiffs’ common law claims. Slide Fire is wrong.
14                                                           II.
15                                        PERSONAL JURISDICTION
16   A. This Court Has Personal Jurisdiction Over Slide Fire.
17           On a motion to dismiss, a plaintiff must merely make a prima facie showing that the
18   Court has personal jurisdiction over the defendant. Harris Rutsky & Co. Ins. Servs. v. Bell &
19   Clements Ltd., 328 F.3d 1122, 1129 (9th Cir. 2003). Accepting Plaintiffs’ allegations as true
20   and drawing all inferences in their favor, Plaintiffs’ Complaint satisfies this requirement.
21   Plaintiffs have sufficiently alleged that Slide Fire has “minimum contacts” with this forum
22   “such that the maintenance of the suit does not offend traditional notions of fair play and
23   substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).4 Accordingly, the
24   Court must deny Slide Fire’s Motion to Dismiss pursuant to Rule 12(b)(2).
25
26
     3
27     See Doug Criss, The Las Vegas attack is the deadliest mass shooting in modern US history, CNN (Oct. 2, 2017),
     https://www.cnn.com/2017/10/02/us/las-vegas-attack-deadliest-us-mass-shooting-trnd/index.html.
     4
28      This minimum contacts satisfies Nevada’s long-arm statute, NEV. REV. STAT. § 14.065, which is coextensive with
     Constitutional due process. Exobox, 2015 WL 82886, at *13, *17. Thus, personal jurisdiction over Slide Fire lies
     here.

                                                            3
1            1. This Court has Specific Jurisdiction over Slide Fire.
2            Plaintiffs have pled sufficient allegations to establish a prima facie case that this Court
3    has specific jurisdiction over Slide Fire. District courts in the Ninth Circuit utilize a three-
4    pronged test for specific jurisdiction: (1) the nonresident defendant must do some act or
5    consummate some transaction with the forum or perform some act by which he purposefully
6    avails himself of the privilege of conducting activities in the forum, thereby invoking the
7    benefits and protections; (2) the claim must be one which arises out of or results from the
 8   defendant's forum-related activities; and (3) exercise of jurisdiction must be reasonable.
 9   Cybersell, Inc. v. Cybersell, Inc., 130 F.3d 414, 416 (9th Cir. 1997). If the plaintiff carries its
10   burden to prove the first two elements, defendant has the burden to present a compelling case
11   that jurisdiction would be unreasonable. Exobox Techs. Corp.v. Tsambis, No. 2:14-cv-00501-
12   RFB-VCF, 2015 WL 82886, at *4 (D. Nev. Jan. 6, 2015). Plaintiffs meet the test.
13                    a. Slide Fire purposefully availed itself of the benefits of Nevada law
14           Plaintiff has made a prima facie showing that Slide Fire purposefully availed itself of
15   the protections and benefits of Nevada by attending trade shows here in years leading up to the
16   shooting, through its website and marketing, and its presence in Nevada retail establishments.
17           A defendant purposefully avails himself of the benefits and protections of a forum state
18   by regularly attending trade shows there. Computerized Screening, Inc. v. Healthspot Inc., No.
19   2:14-cv-00573-RFB-NJK, 2015 WL 4562342 (D. Nev. July 28, 2015); see also Synthes (U.S.A.)
20   v. G.M. Dos Reis Jr. Ind. Com. De Equip. Medico, 563 F.3d 1285, 1299 (Fed. Cir. 2009). Here,
21   Slide Fire reached out to Nevada, and purposefully availed itself of its laws, by regularly
22   attending and participating in Nevada gun trade shows. Defendant went to these shows to
23   promote, market, and sell its bump fire products to vendors, buyers and resellers in Nevada.5
24   Also, via its website, Slide Fire markets, solicits, and/or otherwise advertises its products for
25   sale to Nevada residents and others.             Compl. ¶¶ 43–44.         Notably, Defendant’s website
26   facilitated sales in Nevada by providing a “locate a dealer” function which enabled users to
27
     5
28     Slide Fire regularly traveled to Nevada and attended “SHOT Show,” a gun trade show held in Las Vegas. See
     SHOT Show Exhibitor List for 2016 and SHOT Show Exhibitor Lists for 2017, attached hereto as Exhibit “2”
     along with a verification of their authenticity, attached hereto as Exhibit “1”

                                                           4
1    locate retailers selling its products within a state, including Nevada.6 Compl. ¶¶ 44, 60. Picot v.
2    Weston, cited by Defendant, emphasizes that personal jurisdiction will attach when a defendant
3    has “performed some type of affirmative conduct which allows or promotes the transaction of
4    business within the forum state,” which is precisely what Plaintiffs allege here. 780 F.3d 1206,
5    1212 (9th Cir. 2015) (internal citation omitted). Through its online storefront for selling its
6    products to Nevadans, its sale of bump stocks through Nevada retailers, its regular promotion of
7    bump stocks at trade shows in Nevada, and the attendance of its officers at such trade shows,
 8   Slide Fire has purposefully availed itself of this forum.
 9               Slide Fire contends that the “effects” test from Calder v. Jones, 465 U.S. 783 (1984)
10   applies to this case—and that Plaintiffs do not satisfy that test—based on the false premise that
11   Plaintiffs allege Defendants’ only contact with Nevada is the “unilateral activity of a third party
12   (Paddock).”7 Mot. at 9. This is untrue. Defendant’s repeated participation in Nevada trade
13   shows, its marketing and website directed at Nevadans, and its sales through Nevada retailers,
14   satisfies the minimum contacts necessary to confer specific jurisdiction.                            Moreover, the
15   “effects” test is inapplicable here because Plaintiffs, unlike in Calder, are not asserting
16   intentional tort claims, but negligence and strict liability. Slide Fire cites no authority that
17   applies the “effects” test to cases not involving intentional conduct. Mot. at 8.
18               Accordingly, Plaintiffs have made a prima facie showing that Slide Fire purposefully
19   availed itself of this forum.
20                        b. Plaintiffs’ Claims Arise Out of Defendant’s Activities in Nevada.
21               Plaintiffs have also made a prima facie showing that their claim “arises out of or related
22   to” defendant’s activities in the forum state. Burger King Corp., 471 U.S. at 472. Plaintiffs
23   allege Slide Fire gained government approval to sell bump stocks without restriction by
24   representing them as devices to assist persons “whose hands have limited mobility”. Compl. ¶¶
25   12, 54, 78–89. These statements are inconsistent with Slide Fire’s marketing, which emphasizes
26   that this product was intended for people—who “love full auto”—to convert a legal firearm into
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28   6
         Slide Fire disabled this function on its website after the shooting.
     7
         Calder, 465 U.S. 783, 789 (holding mere injury to a forum resident is not a sufficient connection to the forum).

                                                                 5
1    an illegal machinegun absent the prohibitive price tag and requisite background check. Id. at ¶¶
2    54–55. Upon information and belief, Slide Fire made similar misrepresentations when attending
3    and participating in trade shows in Nevada and otherwise promoting, marketing, and selling
4    bump stocks in Nevada. Plaintiffs’ claims—that Slide Fire’s negligent marketing, sale, and
5    distribution practices created the foreseeable risk that bump stocks would be used to commit
6    acts of violence—directly relates to and arises out of Defendant’s contacts with Nevada, as
7    Slide Fire used these negligent practices in Nevada, which led to the use of the bump stock to
 8   commit an act of violence in Nevada by Paddock, a Nevada resident.
 9                     c. Exercise of Personal Jurisdiction Over Slide Fire in Nevada Comports
                          with Fair Play and Substantial Justice.
10
11            Slide Fire does not even contend that it has met its burden to show that it would be

12   unjust or unreasonable to assert personal jurisdiction in Nevada. See generally Mot. at 7-9.

13   That is because it is patently just for this Court to assert personal jurisdiction over Slide Fire due

14   to its regular travel to, and business activities within, Nevada. Indeed, Slide Fire’s mere

15   attendance at Nevada trade shows demonstrates that hauling Defendant into court in this forum

16   is fair, and not overly burdensome. See supra, at 5.8

17            2. This Court has General Jurisdiction over Slide Fire.

18            Even if this Court did not have specific jurisdiction over Slide Fire—which it does—

19   Plaintiffs have pleaded sufficient allegations to establish a prima facie case for this Court to

20   confer general jurisdiction in this case. Slide Fire engages in substantial or continuous and

21   systematic business contacts that approximate physical presence in Nevada, such as marketing,

22   soliciting, and/or otherwise advertising its products for sale in Nevada. Compl. ¶¶ 43–44, 60.

23   Through its online advertisements and marketing, Slide Fire has generated millions of dollars in

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       See, e.g., Synthes, 563 F.3d at 1299 (“We note, however, that ‘progress in communications and transportation has
26   made the defense of a lawsuit in a foreign tribunal less burdensome.’ . . . In addition, for at least the last five years,
     [the defendant’s] representatives have traveled to the United States for, among other things, trade shows, which
27   suggests that, as far as [the defendant] is concerned, travel itself is not unduly burdensome.”) (quoting World-Wide
     Volkswagen Corp. v. Woodson, 444 U.S. 286, 294 (1980)); see also Patent Rights Prot. Grp., LLC v. Video
28   Gaming Techs. Inc., 603 F.3d 1364, 1367 (Fed. Cir. 2010) (finding that exercising specific jurisdiction over
     defendants would not place a “particularly onerous burden on the defendants, given their admitted presence at
     numerous trade shows in the forum state).

                                                                 6
1    revenue from its sales of bump stocks. Id. at ¶ 50. A portion of that financial support has come
2    directly from Nevadans, including from Paddock, a resident of Nevada, who bought dozens of
3    Defendant’s bump stocks to carry out his assault. Id. at ¶ 39, 62-63.
4    B. In the Alternative, This Court Should Grant Jurisdictional Discovery.
5           In the unlikely event that the Court believes the present record is not sufficiently
6    developed to determine whether Slide Fire is subject to personal jurisdiction, this Court should
7    allow Plaintiffs limited jurisdictional discovery. See Mullally v. Jones, No. 2:05-cv-00154-BES-
 8   GWF, 2007 WL 67429, at *7 (D. Nev. Feb. 28, 2007) (citing Commissariat A L’Energie
 9   Atomique v. Chi Mei Optoelectronics Corp., 395 F.3d 1315, 1323 (Fed. Cir. 2005). The Ninth
10   Circuit has consistently held that jurisdictional discovery is appropriate when additional
11   discovery would help clarify the facts before the court. Harris Rutsky & Co. Ins. Servs. v. Bell
12   & Clements Ltd, 328 F.3d 1122, 1135 (9th Cir. 2003). Through discovery, Plaintiffs—and this
13   Court—would definitively learn, among other things: the volume of Slide Fire’s sales of bump
14   stocks in Nevada; its sales and retail relationships with third parties selling its bump stocks in
15   Nevada; its specific marketing strategies in Nevada; its agents’ and officers’ travel to Nevada;
16   the specific locations where Paddock purchased bump stocks; any communications between
17   Paddock and Slide Fire; and other information valuable to a personal jurisdiction analysis.
18                                                    III.
19                  STANDARDS FOR A RULE 12(b)(6) MOTION TO DISMISS
20          On a motion to dismiss, “[a]ll well-pleaded allegations of material fact in the complaint
21   are accepted as true and are construed in the light most favorable to the non-moving party.”
22   Faulkner v. ADT Sec. Servs., Inc., 706 F.3d 1017, 1019 (9th Cir. 2013) (internal citations
23   omitted). To survive a motion to dismiss, a plaintiff must only allege facts that are “plausibly
24   suggestive of a claim entitling the plaintiff to relief.” Moss v. U.S. Secret Serv., 572 F.3d 962,
25   969 (9th Cir. 2009). “[A] complaint need not contain detailed factual allegations; rather, it must
26   plead ‘enough facts to state a claim to relief that is plausible on its face.’”       Clemens v.
27   DaimlerChrysler Corp., 534 F.3d 1017, 1022 (9th Cir. 2008) (quoting Bell Atl. Corp. v.
28   Twombly, 550 U.S. 544, 570 (2007)). Plaintiffs easily meet this standard.


                                                     7
1                                                              IV.
2                 SLIDE FIRE IS NOT ENTITLED TO IMMUNITY UNDER PLCAA
3             Defendant Slide Fire contends that it is insulated from liability under the Protection of
4    Lawful Commerce in Arms Act (“PLCAA” or “the Act”) because its bump stock devices are
5    “component parts” of a firearm. Mot. at 13–17. Defendant is wrong. Bump stock devices are
6    accessories, not components, so they are not protected by PLCAA. Even if bump stocks were
7    components, Slide Fire is not entitled to PLCAA’s protection because it violated the law.
 8            As an initial matter, Slide Fire overstates PLCAA as a sweeping federal law broadly
 9   shielding firearms manufacturers from liability.9 Mot. at 10-13. However, Congress’s intent
10   was far narrower, and it certainly did not shield makers of products such as bump stocks—that
11   circumvent or violate federal law and enable mass murders like the Las Vegas shooting.10
12   Indeed, the Justice Department is promulgating regulations that ban bump stocks under
13   longstanding legislation.11 Interpreting PLCAA to immunize Slide Fire’s conduct directly
14   contravenes federal law and the government’s intended actions.
15            Moreover, bump stock devices are not sheltered by PLCAA’s limited reach, as bump
16   stocks are “accessories” to firearms, not “component parts.” Compl. ¶¶ 4, 43. And, even if they
17   were component parts, PLCAA does not insulate a manufacturer from civil liability when it has
18   violated federal laws and regulations applicable to the sale of firearms, as Plaintiffs allege here.
19   A. Bump Stock Devices Are Not “Component Parts of a Firearm”
20            Although PLCAA provides limited immunity for licensed firearms manufacturers and
21   sellers from some liability for a third party’s unlawful use of their products, the Act only applies
22
     9
23      If this court found that PLCAA barred Plaintiffs’ claims, Plaintiffs would seek leave to file briefs arguing that
     PLCAA is unconstitutional, which it is, including on 10th Amendment and Due Process grounds, and to notify the
24   Department of Justice of that contention.
     10
          The bill’s Senate Floor Leader made clear that “[PLCAA] “does not protect firearms or ammunitions
25   manufacturers, sellers or trade associations from any lawsuits based on their own negligence or criminal conduct.”
     151 Cong. Rec. S9065 (July 27, 2005) (Sen. Craig). Similarly, PLCAA’s first Purpose is not to protect negligence
26   that is a contributing cause to crimes, but “To prohibit causes of action [against the gun companies covered by the
     Act] for the harm solely caused by the criminal or unlawful misuse of firearm products … by others …” 15 U.S.C.
27   § 7901(b)(1) (emphasis added). See also 15 U.S.C. § 7901(a)(5) (findings state PLCAA prevents “[t]he possibility
     of imposing liability on an entire industry for harm that is solely caused by others.”).
     11
28        See Department of Justice Submits Notice of Proposed Regulation Banning bump stocks, Department of Justice:
     Office of Public Affairs (Mar. 10, 2018), https://www.justice.gov/opa/pr/department-justice-submits-notice-
     proposed-regulation-banning-bump-stocks (announcing intent to prohibit manufacture or sale of bump stocks).

                                                              8
1    to “qualified products.” 15 U.S.C. § 7903(4). The statute defines a “qualified product[,]” in
2    relevant part, to encompass firearms and their “components” Id. Bump stock devices are
3    neither, so Slide Fire is not protected by PLCAA.
4           1.   Bump Stocks Are Not “Component Parts of a Firearm” within PLCAA’s Plain
                 Meaning
5
6           The Court need not look beyond PLCAA’s plain language to determine that bump stock

7    devices are not “component parts of a firearm” under the Act. Guido v. Mount Lemmon Fire

 8   Dist., 859 F.3d 1168, 1170 n.1 (9th Cir. 2017) (analysis of statute begins with its plain

 9   language). A “component” is an integral part of the whole; it is not an accessory or

10   enhancement added after-the-fact. See Oxford English Dictionary (2018) (“component” is “[a]

11   constituent element or part.”). A bump stock is not a component part necessary to make up a

12   rifle as a “whole”, but is an accessory added after a consumer purchases a fully functional rifle.

13          Plaintiffs allege that a bump stock device is a separate part that the Las Vegas killer

14   used: his rifles “were equipped with a ‘bump stock’ – a device that attaches to a semi-automatic

15   rifle, which allows the rifle to mimic a fully automatic weapon” (Compl. ¶ 39); a bump stock is

16   an “aftermarket accessory” (Compl. ¶ 40); and “Slide Fire designs, manufactures, markets,

17   and/or sells firearm accessories, including sliding rifle gunstocks, more commonly referred to

18   as ‘bump fire stocks’” (Compl. ¶ 43) (emphases added). Plaintiffs’ plausible (and correct)

19   reading of PLCAA, and their allegations reflecting the same, are sufficient to defeat Slide Fire’s

20   motion to dismiss. See Haney v. United Airlines, Inc., Case No. 15-cv-00474-VC, 2016 WL

21   80554, at *4 (N.D. Cal. Jan. 7, 2016) (denying motion to dismiss when plaintiffs’ allegations

22   raised “plausible reading of the . . . statute” that “ha[d] some support in the case law”).

23          2.   Slide Fire’s Own Marketing Shows that Bump Stock Devices are not
                 “Component Parts of a Firearm”
24
            Slide Fire’s marketing materials, which are exhibits to its Motion, confirm that bump
25
     stock devices are not component parts of a firearm. Its catalog states that an “existing [rifle]”
26
     becomes “enhanc[ed]” upon the addition of a bump stock device. Mot., Ex. B at 20–21. The
27
     devices are “install[ed]” onto a completed rifle (Id. at 9); intended to “change your standard
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1    [rifle]” and enact “a complete overhaul on [a] rifle” (Id. at 22); and “add fun to your shooting
2    sessions, and can really take your rifle to the next level.” Id. at 17 (emphasis added).
3             3.    Other Authorities Support That Bump Stocks Are Not Components
4             Case law interpreting “component parts” under PLCAA, although limited, demonstrates
5    that bump stock devices are not “component parts” because they are not necessary for the use of
6    an otherwise-functional firearm. In Sambrano v. Savage Arms, Inc., 338 P.3d 103 (N.M. App.
7    2014), the court found that a cable gun lock, sold separately from the rifle, was “an accessory
 8   rather than a component of the rifle such that the lock does not fall within the definition of a
 9   ‘qualified product’” under PLCAA. Id. at 105. The court concluded that “[t]he lock is not a
10   qualified product under the PLCAA” and that “PLCAA does not preclude Plaintiffs’ claims
11   against [] the lock distributor.” Id. at 105–06.
12            Slide Fire is similar to Sambrano’s lock distributor; it manufactures a product that is
13   sold separately from a firearm and is not required for its use. As the court in Sambrano
14   concluded, even if a rifle manufacturer has immunity under PLCAA, the party distributing a
15   rifle accessory (like a bump stock) does not. See also Auto-Ordnance Corp. v. United States,
16   822 F.2d 1566, 1570–72 (Fed. Cir. 1987) (sights and compensators that a manufacturer made
17   and sold with semiautomatic carbines were “accessories,” not “component parts” of a complete
18   firearm, because the carbines were complete and fully functional firearms without them).
19            Similarly, under federal excise tax regulations on manufacturers’ sale of most firearms,
20   taxable “component parts,” included in the price of the firearms, are items that “would
21   ordinarily be attached to a firearm during use and, in the ordinary course of trade, are packaged
22   with the firearm at the time of sale by the manufacturer or importer.” 27 C.F.R. §§ 53.61(b)(2)
23   (emphasis added).12 Bump stocks are not firearms, and they are not included in the packaging of
24
25   12
         Slide Fire cites to implementing regulations for other statutes which are inapposite. Mot. at 16 n. 5. The
26   Firearms and Ammunition Excise Tax defining “component parts” to include “buttstocks” and “attachable shoulder
     stocks” is irrelevant. 27 C.F.R. § 53.61(5)(ii). Bump stocks are not “buttstocks” that are attached to the rifle at sale.
27   And the regulation only provides that “attachable shoulder stocks” are component parts if they are “provided with
     the firearm.” Bump stocks are sold separately from firearms. Slide Fire’s reliance on the definition of
28   “component” in regulations implementing the Arms Export Control Act is also inapposite. See 15 C.F.R. § 772.1;
     22 C.F.R. § 120.45 (Mot. at 16 n. 5). The definition of “component” in these regulations is tied to the definition of
     an “end-item[,]” a term not found in PLCAA. Moreover, these regulations expressly distinguish between

                                                               10
1    an otherwise-completed rifle. Under the regulations, nontaxable “accessories” include “tools”
2    and “optional items purchased by the customer at the time of retail sale . . .” 27 C.F.R. §
3    53.61(b)(5)(iv) (emphasis added). In fact, Slide Fire offers for sale a “conversion kit” that
4    “contains all the parts and tools necessary to convert an AR-15 . . . to a six position receiver
5    extension compatible with our Slide Fire stocks.” Mot., Ex. B at 33 (emphasis added). Tax
6    laws thus support the conclusion that bump stock devices are not a “component part of a
7    firearm,” but are accessories to be added onto a functional rifle.
 8   B.    Bump Stock Devices Are Not Akin to Rifle Stocks
 9            Unable to show that bump stocks are “components” of a rifle within the meaning of
10   PLCAA, Slide Fire relies almost entirely on authorities stating that rifle stocks are “component
11   parts” of a rifle (Mot. at 14–17). This is true, but irrelevant here.
12            The ATF Guidebook that Slide Fire cites demonstrates this point. This manual depicts
13   diagrams of a manufactured rifle, including its stock. Mot. at 15; Ex. F, at 16. The illustration
14   does not depict a bump stock device; nor does it show that the addition of a bump stock device
15   to the rifle, which already appears fully functional, is required for its use.13 The cases Slide Fire
16   cites also do not support the proposition that a bump stock is a component part of a rifle; they
17   simply confirm that a rifle includes a “rifle stock” (not a bump stock device), or merely use the
18   word “stock” and “rifle” in close proximity. Mot. at 15–16. These cases concern a different
19   federal statute, and do not establish that bump stocks are “component parts of a firearm.”
20   C.    PLCAA Predicate Exceptions Apply To This Action
21            Even if this Court were to conclude that bump stock devices are “component parts of a
22   firearm” under PLCAA, Slide Fire nevertheless does not enjoy PLCAA immunity. Plaintiffs’
23   action fits within the “predicate exception” to PLCAA that exempts it from otherwise “qualified
24   civil liability actions” under the Act. See Compl. ¶¶ 15–16, 43, 78–89.
25
26
27
     “components”, on the one hand, and “accessories and attachments”, on the other hand. 22 C.F.R. § 120.45(b)
28   (components) and (c) (accessories and attachments); see also 15 C.F.R. § 772.1.
     13
        ATF’s 2010 letter, Mot., Ex. C, merely states that a bump stock is part of a firearm, not a “firearm” itself, which
     would be regulated under the Gun Control Act. Nor does ATF characterize a bump stock as a component.

                                                              11
1           A manufacturer or seller of a qualified product is not entitled to immunity under
2    PLCAA if it “knowingly violated a State or Federal statute applicable to the sale or marketing
3    of the product, and the violation was a proximate cause of the harm for which relief is sought.”
4    15 U.S.C. § 7903(5)(A)(iii). This is called the “predicate exception” because a plaintiff must
5    present a cognizable claim as well as “allege a knowing violation of a ‘predicate statute.’” Ileto
6    v. Glock, Inc., 565 F.3d 1126, 1132 (9th Cir. 2009) (quoting City of N.Y. v. Beretta U.S.A.
7    Corp., 524 F.3d 384, 390 (2d Cir. 2008)). The exception applies to all causes of action in the
 8   complaint “that allege knowing violations of a state or federal statute applicable to the sale or
 9   marketing of firearms.” Id. at 1136. To meet the exception, the complaint need not allege
10   violations of a specific statute. Rather, the exception is satisfied upon a showing that the
11   plaintiff “sufficiently alleges facts supporting a finding that defendants knowingly violated
12   federal gun laws.” Williams v. Beemiller, Inc., 100 A.D. 3d 143, 149 (N.Y. App. Div. 2012),
13   amended by 103 A.D.3d 1191 (N.Y. App. Div. 2013).
14          The Complaint alleges at least two predicate violations: Slide Fire’s intentional
15   misrepresentations, or false entry, on its application for a federal firearms license, and its
16   misrepresentations to ATF about the purpose of bump stocks. See Compl. ¶¶ 15–16, 43.
17   Plaintiffs adequately pled that Defendant’s actions were the proximate cause of Plaintiffs’
18   injury. See, e.g., Compl. ¶¶ 81, 99, 113, 127, 140. Moreover, “[w]hether an act is the proximate
19   cause of injury is generally a question of fact.” Ileto, 349 F.3d 1191, 1206 (9th Cir. 2003).
20          1. Predicate Violation: False Entry on ATF Form 7
21          The predicate exception allows claims where gun companies made false or misleading
22   statements to ATF in an application for a Federal Firearms License. See 18 U.S.C. §
23   923(d)(1)(D) (barring approval of firearms license applications that willfully fail to disclose
24   material information or make false statements); Williams, 100 A.D. 3d at 149 (predicate
25   exception applied when alleged facts supported violation of 18 U.S.C. § 923). See also 15
26   U.S.C. § 7903(5)(A)(iii)(I) (predicate exception includes false entries in required records).
27          Slide Fire must have filed an application with ATF for a Federal Firearms License,
28   because it obtained a Type 7 Federal Firearms License that bears the signature of Slide Fire’s
     founder, Jeremiah Cottle, on January 5, 2016. See Mot., Ex. A. On this application, known as

                                                     12
1    ATF Form 7,14 applicants must “[d]escribe the specific activity applicant is engaged in or
2    intends to engage in, which requires a Federal Firearms License.” To obtain a Type 7 License,
3    Slide Fire thus had to certify that it was applying as a “Manufacturer of Firearms Other than
4    Destructive Devices.” However, such a certification must have been false.
5            The definition of “firearms” on ATF Form 7 (found in 18 U.S.C. § 921(a)(3)) refers
6    solely to “firearms”; it does not include a “component part of a firearm”, which is the
7    classification that Slide Fire claims its bump stock devices meet. Mot. at 17. Slide Fire’s
 8   representation that it manufactures firearms is thus a “false statement” of a “material fact”
 9   because it formed the basis for ATF’s issuance of a Federal Firearms License to Slide Fire as a
10   “Manufacturer Of Firearms Other Than Destructive Devices.” Mot., Ex. A. Slide Fire’s
11   intentional misrepresentation constitutes a violation of a predicate statute applicable to the sale
12   or manufacture of firearms, 18 U.S.C. § 923(d)(1)(D), which governs issuance of Federal
13   Firearms Licenses pursuant to ATF Applications. See also 27 C.F.R. § 478.47. Hence, Slide
14   Fire cannot enjoy PLCAA immunity even if bump stocks are considered a “component part of a
15   firearm,”—as this action falls within PLCAA’s predicate exception.
16           2. Predicate Violation: Misrepresentations in ATF Correspondence
17           Plaintiffs allege that Slide Fire also made misrepresentations to ATF in violation of 18
18   U.S.C. § 1001(a)(2), which is a predicate statute under PLCAA, as it imposes a duty not to
19   make false statements or misrepresentations in communications to ATF. Slide Fire’s assertion
20   to ATF in a 2010 letter that bump stock devices were intended to assist “persons whose hands
21   have limited mobility” is false and misleading. See Compl. ¶¶ 13–16. The record reveals no
22   measures taken by Slide Fire to market bump stocks to persons with limited mobility, and
23   statements in its own catalog and advertisements belie any notion that bump stock devices are
24   intended for the use of persons with limited mobility. See, e.g., Compl. ¶ 14 (“Your rifle is
25   hungry, feed it”); Mot., Ex. B at 17 (“Rapid fire capabilities can add fun to your shooting
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27   14
         The Court may take judicial notice of the ATF Form 7 application, posted on ATF’s website at
28   https://www.atf.gov/firearms/docs/form/form-7-7-cr-application-federal-firearms-license-atf-form-
     531012531016/download. See Fed. R. Evid. 201; Rote v. Silicon Valley Bank, Inc., No. 3:16-cv-00471-SI, 2016
     WL 4565776, at *4 (D. Or. Sept. 1, 2016).

                                                         13
1    sessions, and can really take your rifle to the next level”). Plaintiffs have sufficiently alleged
2    multiple predicate violations under PLCAA, pursuant to 18 U.S.C. § 1001(a)(2).15
3                                                            V.
4               PLAINTIFFS ADEQUATELY ALLEGED COMMON LAW CLAIMS
5    A.    Plaintiffs Have Adequately Alleged a Claim for Negligence
6            Defendant also erroneously claims that it cannot be liable under Nevada common law.
7    Under Nevada law, negligence requires a showing of “(1) the existence of a duty of care, (2)
 8   breach of that duty, (3) legal causation, and (4) damages.” Sparks v. Alpha Tau Omega
 9   Fraternity, Inc., 255 P.3d 287, 296 (Nev. 2011) (internal citations omitted). Count I alleges all
10   elements: Defendant owed a duty of care to Plaintiffs to reasonably market, distribute and sell
11   its bump stocks; Defendant breached that duty by failing properly to market and sell the bump
12   stock as a device to aid individuals with limited mobility, and instead promoting it as an
13   “inexpensive device to circumvent federal law in obtaining fully automatic weapons”;
14   Defendant’s conduct was a factual and legal cause of Plaintiffs’ harm; and Plaintiffs have
15   sustained emotional and pecuniary damage as a result. See Compl. at ¶¶ 79-89.
16           Slide Fire asserts that it has no duty to Plaintiffs and that there is no proximate cause
17   between its actions and any harm to Plaintiffs. Slide Fire is wrong.
18           1. Defendant Owed A Duty of Care to Plaintiffs
19           Slide Fire urges dismissal, asserting that it had “no duty to control Paddock’s intentional
20   conduct” because it lacked a “special relationship” with him.                     Mot. at 22.       Slide Fire
21   misunderstands Plaintiffs’ claims. It is not liable for failing to control Paddock; it is liable for
22   its affirmative conduct in negligently making and selling devices to enable essentially machine
23   gun fire, which caused the Plaintiffs’ harm. Compl. ¶ 79. It is well-established that a duty of
24   care arises—and no “special relationship” is required—where, as here, a defendant’s affirmative
25
26   15
        Additionally, the Justice Department has recognized that the manufacture and sale of bump stocks to the public
27   is illegal. See Department of Justice Submits Notice of Proposed Regulation Banning bump stocks, Department of
     Justice: Office of Public Affairs (Mar. 10, 2018), https://www.justice.gov/opa/pr/department-justice-submits-
28   notice-proposed-regulation-banning-bump-stocks (submitting “notice of a proposed regulation to clarify that the
     definition of ’machinegun’ in the National Firearms Act and Gun Control Act includes bump stock type devices,
     and that federal law accordingly prohibits the possession, sale, or manufacture of such devices”).

                                                            14
1    conduct in marketing and distributing its product creates a foreseeable risk of harm. See Ileto,
2    329 F.3d at 1201 (defendant owed a duty of care to plaintiffs as a result of its negligent
3    manufacture, distribution and sale of firearms). As the Supreme Court of Ohio explained in
4    City of Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136, 1144 (Ohio 2002):
5           [T]he negligence issue before us is not whether appellees owe appellant a duty to control
            the conduct of third parties. Instead, the issue is whether appellees are themselves
6           negligent by manufacturing, marketing, and distributing firearms in a way that creates
7           an illegal firearms market that results in foreseeable injury. Consequently, the ‘special
            relationship’ rule is not determinative of the issue presented here. Instead, the
 8          allegations of the complaint are to be addressed without resort to that rule.
 9          The District of Nevada recognized just this distinction in Dobson v. Sprint Nextel Corp.,
10   where the defendants argued that no duty of care existed because there was no special
11   relationship between plaintiffs and defendants. Rejecting that argument, the court explained:
12          Plaintiffs have not alleged that Defendants were negligent in failing to protect them from
13          the actions of Defendants’ customers and law enforcement, rather they have alleged that
            Defendants were negligent in creating and providing a faulty locator services that
14          caused the foreseeable consequence . . . While Defendants may not have a special duty
            to ensure the safety of Plaintiffs arising out of a relationship between the parties,
15
            Defendants do have a general duty to exercise reasonable care in their actions and
16          would be liable for any foreseeable harm to Plaintiffs caused by their negligence.

17   2014 WL 553314, at *7 (D. Nev. Feb. 10, 2014) (emphasis added). Plaintiffs allege affirmative
18   conduct by Defendant that created a foreseeable risk of harm through its negligent marketing
19   and sale of bump stocks; thus, no special relationship is needed to give rise to a duty of care.
20          Even if a special relationship were required, one existed since Defendant was in the best
21   position to control the conduct that gave rise to the injury alleged. See Scialabba v. Brandise
22   Const. Co., 921 P.2d 928, 930-31 (Nev. 1996); In re September 11 Litigation, 280 F. Supp. 2d
23   279, 294 (S.D.N.Y. 2003) (airlines owed duty to individuals on the ground because airlines
24   “were in the best position to provide reasonable protection against hijackings and the dangers
25   they presented . . . to ground victims”). Slide Fire was best-situated to control who had access
26   to bump stock devices and could therefore “take reasonable precautions to protect the other
27   [party] from assaults by third parties which, at least, could reasonably have been anticipated.”
28   Scialabba, 921 P.2d at 930 (internal citations omitted). Had Slide Fire marketed and sold bump
     stock devices to individuals with limited mobility, as it led ATF to believe it would, instead of
                                                     15
1    targeting customers like Paddock, who wanted the mass-killing firepower of a fully automatic
2    weapon, the massacre in Las Vegas would never have occurred.
3             Defendant also asserts that it did not breach any duty to Plaintiffs because “the ATF
4    expressly found that Slide Fire’s product did not circumvent the law.” Mot. at 22. That finding
5    contradicts the Department of Justice’s current opinion that bump stocks are illegal under
6    longstanding law.16 Even if the old ATF finding were correct, it would not absolve Defendant
7    of its duty to reasonably market its product. Sellers of legal products can be liable for harm
 8   caused by their negligence in marketing and distributing. See, e.g., Ileto, 349 F.3d at 1204-09.17
 9            2. Defendant’s Conduct Proximately Caused Injury to Plaintiffs
10            Plaintiffs have also adequately pled causation.                   While Paddock’s actions were
11   intentional, criminal acts, they were a foreseeable result of Defendant’s negligence. “[A]n
12   unlawful act will not supersede causation if it was foreseeable.” Symeonidis v. AMC, LLC,
13   2017 WL 6513640, at *2 (Nev. Ct. App. Dec. 11, 2017) (citation omitted); Restatement
14   (Second) of Torts § 448 (third party’s criminal conduct is not a superseding cause if “the actor
15   at the time of his negligent conduct realized or should have realized the likelihood that such a
16   situation might be created, and that a third person might avail himself of the opportunity to
17   commit such a tort or crime”). Indeed, courts routinely find that a firearm manufacturer or
18   seller may be liable in negligence for enabling criminal acts of third parties. See, e.g., Ileto, 349
19   F.3d at 1209 (overturning dismissal of plaintiffs’ claims that a criminal shooting was the
20   foreseeable result of the defendants’ negligent distribution practices); James v. Arms Tech., Inc.,
21   820 A.2d 27, 44 (N.J. Super. Ct. App. Div. 2003); Williams, 103 A.D.3d at 1192.18
22
23   16
        See supra at 16, n.17.
     17
24      Defendant also claims McCarthy v. Sturm, Ruger & Co., 916 F. Supp. 366 (S.D.N.Y. 1996) supports dismissal of
     the negligent marketing claim. McCarthy, however, dismissed the claims that defendant was negligent in marketing
25   its ammunition to the public rather than just to law enforcement because plaintiffs did not allege that defendant’s
     advertisements were “false or misleading.” Id. at 369. Here, Plaintiffs’ allegations are not limited to Slide Fire’s
26   misrepresentations, and the misrepresentations that Slide Fire’s did make were not directed at the public, but at
     ATF, to gain approval to sell the devices. Compl. at ¶¶ 12-15; 53-54; 57. Slide Fire did not market its bump stock
27   to disabled shooters, but negligently marketed the bump stock as a “military-grade accessory for civilians”,
     attracting purchasers like Paddock. Compl. at ¶ 57.
     18
28      See also Price v. Blaine Kern Artista, Inc., 893 P.2d 367, 369-70 (Nev. 1995) (plaintiff, who was pushed by club
     patron while wearing defendant’s George Bush mask, raised issue of fact as to whether the club patron’s conduct
     was a foreseeable result of defendant mask manufacturer’s negligence; club patron’s push did not break the chain

                                                             16
1            The very reason that federal law greatly restricts automatic firepower is because of the
2    foreseeable risk that it will be used as it was in Las Vegas – for mass slaughter. It was
3    foreseeable that the Defendant’s broad marketing and distribution of bump stocks as a hassle-
4    free way to fire effectively automatic weapons, without regulation, might, without other
5    precautions, result in that device being used to cause harm of the sort suffered by Plaintiffs.
6    B. Plaintiffs Have Adequately Alleged A Claim for Negligence Per Se
7            Plaintiffs have alleged a viable negligence per se claim. Compl. ¶ 84. “A statutory
 8   violation is negligence per se if the injured party belongs to the class of persons whom the
 9   statute was intended to protect, and the injury suffered is of the type the statute was intended to
10   prevent.” Atkinson v. MGM Grand Hotel, Inc., 98 P.3d 678, 680 (Nev. 2004). Determining
11   liability under negligence per se “is in general a question of fact for a jury.” Anderson v.
12   Baltrusaitis, 944 P.2d 797, 799 (Nev. 1997) (internal citation omitted).
13           Defendant’s bump stock device violates NEV. REV. STAT. § 104.2314, which requires
14   products sold in the state of Nevada to be “merchantable,” or “fit for the ordinary purposes for
15   which such goods are used.” Id. §104.2314(2)(c). Slide Fire’s bump stock does not meet this
16   definition. Defendant claimed that the bump stock’s “ordinary purpose” was to aid individuals
17   with limited hand mobility, but it is not fit for that purpose. Rather, the “ordinary purposes” for
18   which bump stocks are actually used are for able-bodied persons—like the killer—cheaply and
19   easily to evade federal laws that regulate automatic weapons. Compl. ¶¶ 12, 55, 80. It is too
20   dangerous and destructive for an ordinary person to operate. See Compl. ¶¶ 122-146.
21           Plaintiffs meet the remaining requirements of a negligence per se claim. They are in the
22   class of persons intended to be protected by NEV. REV. STAT. § 104.2314, since their injury
23   resulted from Defendant’s marketing and distribution of the bump stock, which was not fit for
24   the ordinary purposes for which it was used. Moreover, Plaintiffs suffered the type of harm that
25   NEV. REV. STAT. § 104.2314 aims to prevent, that is, harm to consumers and the public caused
26   by defective or dangerous products. Finally, Defendant’s violation of the statute proximately
27
28
     of causation, because defendant manufacturer should have foreseen the possibility of “some sort of violent
     reaction, such as pushing, by intoxicated or politically volatile persons, ignited by sight” of George Bush mask).

                                                            17
1    caused Plaintiffs harm, because Defendant did not confine its marketing of bump stocks to the
2    disabled, but targeted buyers like Paddock, who used them to cause Plaintiffs’ injuries.
3    C. Plaintiffs Adequately Allege Claims for Negligent Infliction of Emotional Distress
4            Plaintiffs have adequately pled direct and bystander claims for negligent infliction of
5    emotional distress (“NIED”). Slide Fire’s arguments (Mot. at 20-21) are unpersuasive.
6            In Nevada, a bystander can recover for NIED by showing “that he or she (1) was located
7    near the scene; (2) was emotionally injured by the contemporaneous sensory observance of the
 8   accident; and (3) was closely related to the victim.” Grotts v. Zahner, 989 P.2d 415, 416 (Nev.
 9   1999). While Defendant claims that only bystanders may bring direct NIED claims, several
10   cases—including from the Nevada Supreme Court and this District—have held to the contrary.
11   See, e.g., Shoen v. Amerco, Inc., 896 P.2d 469, 477 (Nev. 1995) (“[i]f a bystander can recover
12   for the negligent infliction of emotional distress, it is only logical that the direct victim be
13   permitted the same recovery.”); Peterson v. Miranda, 991 F. Supp. 2d 1109, 1118 (D. Nev.
14   2014) (denying defendants’ motion for summary judgment on NIED claim, for “in Nevada, a
15   direct victim of a defendant’s negligent acts can recover for negligent infliction of emotional
16   distress”); Eleanora J. Dietlein Tr. v. Am. Home Mortg. Inv. Corp., No. 3:11–CV–0719–LRH–
17   VPC, 2012 WL 1602404, at *3 (D. Nev. May 4, 2012) (holding “in Nevada, a direct victim of a
18   defendant’s negligent acts can recover for negligent infliction of emotional distress”).19
19           Slide Fire inaccurately claims that Plaintiffs fail to allege that they were “closely related
20   to any victim”. Mot. at 21. In fact, Plaintiffs allege they are family members of victims or
21   victims themselves, and were at the concert when the shooting took place. See Compl. ¶¶ 93-95
22   (“each Plaintiff and all of those similarly situated witnessed the carnage and death [and injuries]
23   of loved ones, family members . . .”) (emphasis added); Compl. ¶¶ 109-111.
24           Additionally, while Slide Fire claims that Plaintiffs did not allege a “physical impact or
25   serious emotional distress causing physical injury or illness” (Mot. at 21), Plaintiffs easily
26   satisfy the emotional injury requirement, given the historic violence of the shooting. Nevada
27
28   19
       Moreover, even if no direct NIED claim were cognizable under Nevada law, Plaintiffs could recover for
     emotional distress under their well-pled negligence claim (see Compl., Count I).

                                                       18
1    courts have upheld bystander NIED claims resulting from far less calamitous events. See
2    Ervine v. Desert View Regional Med. Ctr. Holdings, LLC, Case No. 2:10–CV–1494 JCM
3    (GWF), 2016 WL 5419417, at *1, 8 (D. Nev. Sept. 27, 2016) (denying summary judgment on
4    NIED claim when defendant allegedly refused to provide plaintiff’s deaf wife with a sign-
5    language interpreter while she was in the defendant’s medical center); Downs v. River City
6    Grp., LLC, No. 3:11–cv–0885–LRH–WGC, 2012 WL 1684598, at *3 (D. Nev. May 11, 2012)
7    (denying motion to dismiss NIED emotional injury when defendant bank conducted foreclosure
 8   although plaintiff was not in default).
 9          Moreover, Plaintiffs allege that they “suffered a shock resulting from the sensory and
10   observance of the carnage” (Compl. ¶¶ 94-95), which Nevada courts have expressly held
11   supports an NIED claim. See, e.g., Eleanora J. Dietlein Trust v. Am. Home Mortg. Inv. Corp.,
12   No. 3:11–CV–0719–LRH–VPC, 2012 WL 1602404, at *3 (D. Nev. May 4, 2012) (plaintiffs
13   may recover for NIED where they witnessed defendant wrongfully foreclosing on their home,
14   and “suffer[ed] a shock”); Crippens v. Sav on Drug Stores, 961 P.2d 761, 761-63 (Nev. 1998)
15   (plaintiff adequately pled that she “suffer[ed] a shock” from emotional impact in a bystander
16   NIED claim where plaintiff administered to her mother medication improperly dispensed by
17   defendant, and observed her mother become permanently disabled as a result).
18          Finally, Plaintiffs have alleged the need for medical mental health monitoring (Compl,.
19   Counts 1-5), which, under Nevada law, does not require a “present” allegation of physical
20   injury. See Sadler v. PacifiCare, 340 P.3d 1264, 1270–72 (Nev. 2014). As in Sadler, Plaintiffs
21   have an interest in avoiding expensive psychological and physical examinations, which they
22   will need to monitor emotional and physical symptoms resulting from Defendant’s negligent
23   conduct. The purpose of requiring medical monitoring in Sadler was the same as here: to catch
24   the onset of illness as early as possible so that they do not lose “valuable treatment time.” Id. at
25   1271. Regardless of the standard applied, Plaintiffs have adequately alleged NIED claims.
26   D. The Complaint Properly States a Claim for Public Nuisance
27          In contending that public nuisance claims are not cognizable in Nevada, Slide Fire
28   incorrectly represents the law. Mot. at 22. In Nevada, a private individual does have a claim
     for public nuisance if he or she establishes some special injury or damage different than that

                                                     19
1    sustained by the general public. Blanding v. Las Vegas, 1929 Nev. LEXIS 41, at *27-29 (Nev.
2    Sept. 25, 1929); see also Fogg v. Nev.-Cal.-Or. Rwy., 20 Nev. 429, 437–38 (Nev. 1890) (same).
3    Cf. Williams, 103 A.D.3d at 1192 (gunshot victim suffered special injury beyond that
4    experienced by community at large, stating public nuisance under New York law).
5           Plaintiffs’ allegations clearly meet this standard. Indeed, it is hard to imagine injuries
6    more extraordinary than those alleged by Plaintiffs. See, e.g., Compl. ¶¶ 94-95 (claiming that
7    each Plaintiff witnessed carnage, death and injuries of “loved ones, family members and
 8   friends” and “suffered a shock resulting from the sensory and observance of the carnage”). As a
 9   result of Defendant’s manufacture and sale of bump stocks, Plaintiffs have suffered and
10   continue to suffer emotional distress and psychological trauma from being fired upon and/or
11   witnessing first-hand the carnage and injuries to family members, friends, and fellow concert
12   goers -- injuries above and beyond those suffered by the community at large. Moreover,
13   maintaining Plaintiffs’ claims would be consistent with rulings in multiple other jurisdictions,
14   which have denied motions to dismiss public nuisance claims against gun dealers and
15   manufacturers. See, e.g., White v. Smith & Wesson, 97 F. Supp. 2d 816, 823 (N.D. Ohio 2000)
16   (denying motion to dismiss a public nuisance claim); James, 820 A.2d at 50–53 (same); City of
17   Cincinnati, 768 N.E.2d at 1141–45 (same); Johnson v. Bulls Eye Shooter Supply, 2003 WL
18   21639244, at *4 (Wa. Super. Ct. June 27, 2003) (same).
19   E. The Complaint Properly States a Claim for Products Liability
20          Slide Fire inaccurately claims that Plaintiffs have not stated a claim for strict products
21   liability. As required, Plaintiffs have alleged sufficient facts to show: (1) the defendant placed
22   upon the market a defective product; (2) the injuries were caused by the defect in the product;
23   and (3) such defect existed when the product left the hands of the defendant. Allison v. Merck
24   & Co., 110 Nev. 762, 767-68, 878 P.2d 948, 952 (1994).
25          Here, Slide Fire is strictly liable to plaintiff for placing bump stocks into the market,
26   which were then used (without modification) to enable extreme rapid fire and the largest mass
27   shooting in U.S. history.     Plaintiffs’ injuries caused by Defendant’s bump stocks were
28   foreseeable.


                                                    20
1            Slide Fire incorrectly suggests that Plaintiffs are making a “no defect” claim. Mot. at
2    23. However, Nevada courts have held that products are defective which are dangerous because
3    they fail to perform in the manner reasonably to be expected in light of their nature and intended
4    function. Allison, 110 Nev. at 767-68, 878 P.2d at 952; see also, Duzer v. Shoshone Coca Cola
5    Bottling Co., 103 Nev. 383, 741 P.2d 811 (1987) (holding an unreasonably dangerous product is
6    defective).
7            Slide Fire relies on a New York case which is inapplicable. First, that court determined
 8   defendant’s product was legal and designed to cause harm, unlike here. McCarthy, 916 F.
 9   Supp. 366, 371. Second, Nevada has not adopted the risk/utility analysis, which was central to
10   the holding in that case. Id., but c.f. Ford Motor Co. v. Trejo, 402 P.3d 649 (Nev. 2017)
11   (upholding consumer expectations test in products cases). Plaintiffs have adequately pled a
12   strict products liability claim.
13                                                    VI.
14                                           CONCLUSION
15
             Defendant Slide Fire’s Motion to Dismiss should be denied.
16
17                                                     DATED this 30th day of March, 2018
18
                                                       /s/Robert T. Eglet, Esq.
19                                                     ROBERT T. EGLET, ESQ.
                                                       Nevada Bar No. 3402
20                                                     ROBERT M. ADAMS, ESQ.
21                                                     Nevada Bar No. 6551
                                                       EGLET PRINCE
22                                                     400 South 7th Street, 4th Floor
                                                       Las Vegas, Nevada 89101
23                                                     -and-
24                                                     JONATHAN E. LOWY, ESQ.
                                                       (Pro Hac Vice Forthcoming)
25                                                     District of Columbia Bar No. 418654
                                                       BRADY CENTER TO PREVENT GUN
26                                                     VIOLENCE
27                                                     840 1ST Street, NE, #400
                                                       Washington, DC 20002
28                                                     Telephone: 202-370-8104
                                                       Email: jlowy@bradymail.org
                                                       Attorneys for Plaintiffs
                                                    21
1
                                          CERTIFICATE OF SERVICE
2
             I HEREBY CERTIFY that on 30th day of March, 2018, I served the above PLAINTIFFS’
3
     OPPOSITION TO DEFENDANT SLIDE FIRE SOLUTIONS, LP’S MOTION TO
4
     DISMISS THE COMPLAINT PURSUANT TO RULES 12(B)(2) AND 12(B)(6) through the
5
     CM/ECF system of the United States District Court for the District of Nevada (or, if necessary, by U.S.
6
     Mail, first class, postage pre-paid), upon the following:
7
 8
     JAMES D. BOYLE, ESQ.
 9   F. THOMAS EDWARDS, ESQ.
     HOLLEY DRIGGS WALCH FINE WRAY PUZEY & THOMPSON
10   400 South Fourth Street, Suite 300
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11
     -and-
12   JEFFREY MALSCH, ESQ.
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21                                          An Employee of Eglet Prince
22
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